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15

16
                                  UNITED STATES DISTRICT COURT
17
                             NORTHERN DISTRICT OF CALIFORNIA
18

19   NEETA THAKUR, KEN ALEX, NELL                        Case No. 3:25-cv-04737
     GREEN NYLEN, ROBERT HIRST,
20   CHRISTINE PHILLIOU, and JEDDA
     FOREMAN, on behalf of themselves and all
21   others similarly situated,                          CERTIFICATION OF CONFLICTS
                                                         AND INTERESTED ENTITIES OR
22                 Plaintiffs,                           PERSONS

23          v.

24   DONALD J. TRUMP, in his official capacity as
     President of the United States;
25   DEPARTMENT OF GOVERNMENT
     EFFICIENCY (“DOGE”);
26   AMY GLEASON, in her official capacity as
     Acting Administrator of the Department of
27   Government Efficiency;
     NATIONAL SCIENCE FOUNDATION;
28
     [caption cont’d next page]
                                                                     CERTIFICATION OF CONFLICTS AND
                                                                     INTERESTED ENTITIES OR PERSONS
        Case 3:25-cv-04737         Document 2       Filed 06/04/25   Page 2 of 4



 1
     BRIAN STONE, in his official capacity as
 2   Acting Director of the National Science
     Foundation;
 3   NATIONAL ENDOWMENT FOR THE
     HUMANITIES;
 4   MICHAEL MCDONALD, in his official
     capacity as Acting Chairman of the National
 5   Endowment for the Humanities;
     UNITED STATES ENVIRONMENTAL
 6   PROTECTION AGENCY;
     LEE ZELDIN, in his official capacity as
 7   Administrator of the U.S. Environmental
     Protection Agency;
 8   UNITED STATES DEPARTMENT OF
     AGRICULTURE;
 9   BROOKE ROLLINS, in her official capacity as
     Secretary of the U.S. Department of Agriculture;
10   AMERICORPS (a.k.a. the CORPORATION
     FOR NATIONAL AND COMMUNITY
11   SERVICE);
     JENNIFER BASTRESS TAHMASEBI, in her
12   official capacity as Interim Agency Head of
     AmeriCorps;
13   UNITED STATES DEPARTMENT OF
     DEFENSE;
14   PETE HEGSETH, in his official capacity as
     Secretary of the U.S. Department of Defense;
15   UNITED STATES DEPARTMENT OF
     EDUCATION;
16   LINDA MCMAHON, in her official capacity as
     Secretary of the U.S. Department of Education;
17   UNITED STATES DEPARTMENT OF
     ENERGY;
18   CHRIS WRIGHT, in his official capacity as
     Secretary of Energy;
19   UNITED STATES DEPARTMENT OF
     HEALTH AND HUMAN SERVICES;
20   ROBERT F. KENNEDY, JR., in his official
     capacity as Secretary of the U.S. Department of
21   Health and Human Services;
     UNITED STATES CENTERS FOR DISEASE
22   CONTROL;
     MATTHEW BUZZELLI, in his official capacity
23   as Acting Director of the Centers for Disease
     Control;
24   UNITED STATES FOOD AND DRUG
     ADMINISTRATION;
25   MARTIN A. MAKARY, in his official capacity
     as Commissioner of the Food and Drug
26   Administration;
     UNITED STATES NATIONAL INSTITUTES
27   OF HEALTH;
     JAYANTA BHATTACHARYA, in his official
28   capacity as Director of the National Institutes of

                                                                       CERTIFICATION OF CONFLICTS AND
                                                                       INTERESTED ENTITIES OR PERSONS
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 1   Health;
     INSTITUTE OF MUSEUM AND LIBRARY
 2   SERVICES;
     KEITH SONDERLING, in his official capacity
 3   as Acting Director of the Institute of Museum
     and Library Services;
 4   UNITED STATES DEPARTMENT OF THE
     INTERIOR;
 5   DOUG BURGUM, in his official capacity as
     Secretary of the Interior;
 6   UNITED STATES DEPARTMENT OF STATE;
     MARCO RUBIO, in his official capacity as
 7   Secretary of the U.S. Department of State;
     DEPARTMENT OF TRANSPORTATION;
 8   SEAN DUFFY, in his official capacity as
     Secretary for the U.S. Department of
 9   Transportation,
10   Defendants.
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                                                                  CERTIFICATION OF CONFLICTS AND
                                                                  INTERESTED ENTITIES OR PERSONS
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 1                 CERTIFICATE OF CONFLICTS AND INTERESTED ENTITIES

 2           Pursuant to Civil Local Rule 3-15, on behalf of Plaintiffs Neeta Thakur, Ken Alex, Nell

 3   Green Nylen, Robert Hirst, Christine Philliou, and Jedda Foreman, the undersigned certify that as

 4   of this date, there is no conflict or interest (other than the named parties) to report.

 5

 6    Dated: June 4, 2025                          By:     /s/ Elizabeth J. Cabraser
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                                                    Attorneys for Plaintiffs and the Proposed Class
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                                                                                  CERTIFICATION OF CONFLICTS AND
                                                         -1-                      INTERESTED ENTITIES OR PERSONS
